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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


ARMANDO SERRANO                           )
                                          )     Case No. 17 CV 2869
                              Plaintiff,  )
                                          )     Hon. Manish S. Shah
                                          )
            vs.                           )     Magistrate Jeffrey Cole
                                          )
                                          )
REYNALDO GUEVARA, ERNEST                  )     JURY DEMAND
HALVORSEN, EDWARD MINGEY,                 )
MATTHEW COGHLAN, JOHN DILLON, the         )
CITY OF CHICAGO, and COOK COUNTY          )
                                          )
                        Defendants.       )
______________________________________________________________________________
JOSE MONTANEZ                             )
                                          )     Case No. 17 CV 4560
                              Plaintiff,  )
                                          )     Hon. Manish S. Shah
                                          )
            vs.                           )     Magistrate Jeffrey Cole
                                          )
                                          )     JURY DEMAND
REYNALDO GUEVARA, ERNEST                  )
HALVORSEN, EDWARD MINGEY,                 )
MATTHEW COGHLAN, JOHN DILLON, the         )
CITY OF CHICAGO, and COOK COUNTY          )
                                          )
                        Defendants.       )

      INDIVIDUAL POLICE OFFICER DEFENDANTS’ AGREED MOTION FOR
       EXTENSION OF TIME TO ANSWER OR OTHERWISE PLEAD AND TO
                         SUBSTITUTE COUNSEL

       Defendants Reynaldo Guevara, Ernest Halvorsen, and Edward Mingey, by their

attorneys, The Sotos Law Firm, P.C., move this court for a brief extension of time to answer or

otherwise plead and to substitute counsel for Defendants Guevara and Halvorsen. In support

thereof the Individual Police Officers state:
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       1.      Plaintiff Serrano filed his complaint in May 2017 and Plaintiff Montanez filed his

complaint in June 2017. The Individual Police Officer Defendants and City of Chicago (“City

Defendants”) filed a joint motion to dismiss in November 2017. Pursuant to the Court’s order,

discovery proceeded while the motion to dismiss was pending. During the discovery period, the

Individual Police Officer Defendants were deposed and asserted their Fifth Amendment rights.

       2.      On May 29, 2018, the Court granted in part and denied in part the City

Defendants’ motion to dismiss, granted Plaintiffs leave to amend their Complaints by June 19,

2018, and ordered the City Defendants to file their responsive pleadings by July 10, 2018.

(Serrano, Dkt. 88; Montanez, Dkt. 86).

       3.      Counsel for the City Defendants where engaged in a four week trial before Judge

Gottschall in Rivera v. Guevara, et al (No. 12 CV 004428) during June 2018, when Plaintiffs

filed their Amended Complaints (Serrano, Dkt. 90; Montanez, Dkt. 89) on June 19, 2018.

Plaintiffs and the City Defendants agreed to an extension of time until August 20, 2018 in order

to file a responsive pleading to the Amended Complaints. (Serrano, Dkt. 94; Montanez, Dkt. 93)

       4.      Plaintiff Serrano’s First Amended Complaint contains 221 paragraphs and 11

counts (Serrano, Dkt. No. 90) and Plaintiff Montanez’s Corrected First Amended Complaint

contains 186 paragraphs and 11 counts. (Montanez, Dkt. No. 89).

       5.      Defendant Mingey recently reconsidered his assertion of the Fifth Amendment

and has decided not to invoke his rights. Accordingly, Defendant Mingey must prepare a

substantive answer to both Plaintiffs’ Amended Complaints.

       6.      As result of Mingey’s decision to testify, Defendants Guevara and Halvorsen now

move to substitute Thomas M. Leinenweber and James V. Daffada of the law firm of

Leinenweber, Baroni, & Daffada, LLC as their counsel, and to withdraw the appearances of



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James G. Sotos, Caroline P. Golden, David A. Brueggen, Josh M. Engquist, Jeffrey N. Given,

Jeffrey R. Kivetz, and Joseph M. Polick, with the Sotos Law Firm, P.C. Based on the timing of

Defendant Mingey’s decision to not assert his Fifth Amendment rights, the length of Plaintiffs’

amended complaints, and Defendants Guevara and Halvorsen’s requested substitution of

counsel, the Individual Police Officer Defendants seek a brief 16 day1 extension of time to file

their responsive pleading to the Amended Complaints, on or before September 5, 2018.

           7.       This motion is not being made for the purpose of causing undue delay and will

not result in prejudice to any party because discovery has been proceeding. In addition, the

Individual Police Officer Defendants’ responsive pleadings will be filed one week prior to the

September 12, 2018 status hearing with Magistrate Judge Cole and more than three weeks before

the September 27, 2018 status hearing before Judge Shah.

           8.       The undersigned contacted Plaintiffs’ counsel to inquire whether Plaintiffs had

any objection to the instant Motion. Plaintiffs’ counsel indicated that they had no objection to

this motion.

           WHEREFORE, Defendants Reynaldo Guevara, Ernest Halvorsen, and Edward Mingey

respectfully request this Honorable Court for 1) a 16 day extension, to September 5, 2018, in

order to file responsive pleadings to Plaintiffs’ amended complaints; 2) Thomas M. Leinenweber

and James V. Daffada of the law firm of Leinenweber, Baroni, & Daffada, LLC substitute in as

counsel for Defendants Reynaldo Guevara and Ernest Halvorsen; and 3) to withdraw the

appearances of James G. Sotos, Caroline P. Golden, David A. Brueggen, Josh M. Engquist,

Jeffrey N. Given, Jeffrey R. Kivetz, and Joseph M. Polick, of the Sotos Law Firm, P.C., as

counsel for Defendants Reynaldo Guevara and Ernest Halvorsen



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    Defendants seek 16 days, rather than 14 days, due to the Labor Day holiday.

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Dated: August 17, 2018                       Respectfully submitted,

/s/Josh M. Engquist                          /s/Thomas M. Leinenweber
Josh M. Engquist, Attorney No. 6242849       Thomas M. Leinenweber
One of the Attorneys for                     One of the Attorneys for Defendants
Defendant Mingey                             Guevara and Halvorsen

James G. Sotos                               Thomas Leinenweber
Josh Engquist                                James Daffada
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                                 CERTIFICATE OF SERVICE

        I hereby certify under penalty of perjury pursuant to 28 U.S.C.A. § 1746 that on August
17, 2018, I electronically filed the foregoing INDIVIDUAL POLICE OFFICER
DEFENDANTS’ AGREED MOTION FOR EXTENSION OF TIME TO ANSWER OR
OTHERWISE PLEAD AND TO SUBSTITUTE COUNSEL with the Clerk of the Court
using the CM/ECF system which will send notification of such filing to the following CM/ECF
participants listed below.

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                                                    /s/ Josh Engquist
                                                    JOSH M. ENGQUIST, Attorney No. 6242849
                                                    One of the Attorneys for Defendant Mingey

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